Case 2:17-mj-03088-DUTY Document 2 Filed 12/07/17 Page 1 of 1 Page |D #:2

 

 

 

 

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UNITED STA'I`ES DISTRICT COURT €"»‘ `F"i
CENTRAL DISTRICT OF CALIFORNIA -:..: §
CASE NUMBF.!¢ 3 `“""
UNITED STATES OF AMERICA 3
V_ PLAINTIFF l : I'I -C.IL- \M»B _ _ §
>v~
dwmml M M_¢m_., 5 REPORT coMMEN_ClNG cRIMINAL
DEFENDANT ACTION

 

 

 

 

To: cLERI<'s oFFICE. U.S. DISTRICT cOURT 1 7 nJU? 0 8 8

All areas must be completed Any area not applicable or unknown should indicate "N:'A".

1- Date and time ofarrest: ‘[)¢¢,m“¢_ ‘1 q,p 1"1 1:¢>0 [X| AM [:| PM

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2. The above named defendant is currently hospitalized and cannot be transported to court for arraignment or
any other preliminary proceeding: i:| Yes ig No

3. Defendant is in U.S. Marshals Service lock-up (in this court building): Yes f:] No
4. Charges under which defendant has been booked:
T»-n.z 19 USC,' S=mmd l'$*l"l (|) l game Fsuwo C¢»lsr¢n~k¢»\(
5.~ OffCIlS€ Chal'g€d iS 31 Felony l:l Minor Offense f:] Petty Offense |:| Other Misdemeanor

6. Interpreter Required: No f:| Yes Language:

 

7- Year of Birth: l ‘| 63

 

 

8. Defendant has retained counsel: No
|:i Yes Narne: Phone Number:
9. Name of Pretrial Services Oflicer notified: :5%5 L-€F

 

10- Remarks (if any):

 

11. Name: GM_.¢ '_'D_ Nm,h__{ (pleaseprint)

 

12. Office Phone Number: gm _ 417¢ 5 5 (, 5 13- Agency: FE,|

 

 

14. Signature: § 15- Daf€r hamm 1 l ‘LD!"I

 

 

CR-64 (2}14) REPORT COMMENCING CRIMINAL ACTION

